Middlesex North Registry of Deeds
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Middlesex North Registry of Deeds

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360 Gorham Street
Lowell, Massachusetts 01852
978/322-9000
www.lowelldeeds.com

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COMMERCIAL MORTGAGE, SECURITY AGREEMENT AND ASSIGNMENT OF LEASES AND
RENTS i

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This COMMERCIAL MORTGAGE, SECURITY AGREEMENT AND ASSIGNMENT OF LEASES
AND RENTS (this “Mortgage”) is entered into at Hudson, Massachusetts, as of August 28, 2019,
between Luciana Oliveira, as Trustee(s) of 347 Middlesex Road Realty Trust, a Massachusetts trust,
with an address of 347 Middlesex Road, Unit 3, Tyngsboro, Massachusetts 01879 (the "Mortgagor")
and Avidia Bank, a savings bank, with an address of 42 Main Street, Hudson, Massachusetts 01749 (the
“Bank’).

andet Th ‘)
347 Middlesex Road Realty Trust was formed w/d/t dated July 28, 2014., ( lan Monk, nde Puc

The real property which is the subject matter of this Mortgage has the following address(es): 347
Middiesex Road, Tyngsborough, Massachusetts 01879 (the "Address(es)").

4. MORTGAGE, OBLIGATIONS AND FUTURE ADVANCES

14 Mortgage. For valuable consideration paid and for other gare and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, fhe Mortgagor hereby irrevocably and
unconditionally mortgages, grants, bargains, transfers, sells, conveys, sets over and assigns to the Bank
and its successors and assigns forever, with MORTGAGE COVENANTS, all of Mortgagor's right, title and
interest in and to the “Property” described below, to secure the prompt payment and performance of the
Obligations (as hereinafter defined), including without limitation, all amounts due and owing to the Bank
and all obligations respecting that certain Five Year Adjustable Term Note, ‘dated August 28, 2019, by
Luciana Oliveira, as Trustee(s) of 347 Middlesex Road Realty Trust in favor of the Bank in the original

' principal amount of $2,064,142.00 (the “Note”; and collectively, along with all other agreements,

documents, certificates and instruments delivered in connection therewith, the "Loan Documents"), and
any substitutions, modifications, extensions or amendments to any of the Loan Documents. it is the

express intention of the Mortgagor that this Mortgage secure payment and performance of ail the
Obligations (direct or indirect), whether now existing or hereinafter incurred by reason of future
advances by the Bank or otherwise, and regardless of whether such Obligations are or were
contemplated by the parties at the time of the granting of this Mortgage. Notice of the continuing
grant of this Mortgage shall not be required to be stated on the face of any document evidencing
any of the Obligations, nor shall such documents be required to otherwise specify that they are
secured hereby. :

The amount of principal obligations outstanding and evidenced by the Loan Documents and
secured by this Mortgage total $2,064,142.00 as of the date of this Mortgage but this Mortgage shall
nevertheless secure payment and performance of all Obligations. :

pledges, assigns and grants to the Bank, and its successors and Sssigns, a security interest in any of the
Property (as hereinafter defined) constituting personal property of fixtures. This Mortgage is and shall be
deemed to be a security agreement and financing statement pursuant to the terms of the Uniform
Commercial Code of Massachusetts (the “Uniform Commercial Cade”) as to any and all personal property
and fixtures and as to all such property the Bank shail have the rights and remedies of a secured party
under the Uniform Commercial Code in addition to its rights héreunder. This Mortgage constitutes a,
financing statement filed as a fixture filing under Section 9-502(c) of the Uniform Commercial Code
covering any Property which now is or later may become a fixture.

12 Security interest in Property. As continuing security he Obligations the Mortgagor hereby

13 Collateral Assignment of Leases and ‘Rents. The Mortgagor hereby irrevocably and

unconditionally assigns to the Bank, and its successors and assigns, as collateral security for the
Obligations all of the Mortgagor's rights and benefits under any and all Leases (as hereinafter defined)
and any and all rents and other amounts now or hereafter owing with respect to the Leases or the use or
occupancy of the Property. This collateral assignment shall be absolute and effective immediately, but

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the Mortgagor shall have a license, revocable by the Bank, to continue to collect rents owing under the
Leases until an Event of Default (as hereinafter defined) occurs, , and the Bank exercises its rights and
remedies to collect such rents as set forth herein.
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14 Conditions to Grant. The Bank shall have and hold the above granted Property unto and to the
use and benefit of the Bank, and its successors and assigns, forever; provided, however, the
conveyances, grants and assignments contained in thie Mortgage are upon the express condition that, if
Mortgagor shail irrevocably pay and perform the Obligations in full, including, without limitation, ail
principal, interest and premium thereon and other charges, if applicable, in accordance with the terms and
conditions in the Loan Documents and this Mortgage, shall pay and perform all other Obligations as set
forth in this Mortgage and shall abide by and comply with each and every covenant and condition set forth
herein and in the Loan Documents, the conveyances, grants and assignments contained in this Mortgage
shall be appropriately released and discharged.

16 Property. The term "Property," as used in this Mortgage, shall mean that certain parcel of land
and the fixtures, structures and improvements and all personal property constituting fixtures, as that term ©
is defined in the Uniform Commercial Code, now or hereafter thereon located at the Address(es), as more
particularly described in Exhibit A attached hereto, together with: {i) all rights now or hereafter existing,
belonging, pertaining or appurtenant thereto; (i!) all judgments; awards.of damages and settlements
hereafter made as a result or in lieu of any Taking, as hereinafter defined; (iil) all of the rights and benefits
of the Mortgagor under any present or future leases and agreements relating to the Property, including,
without limitation, rents, issues and profits, or the use or occupancy thereof together with any extensions
and renewals thereof, specifically excluding all duties or obligatidns of the Mortgagor of any kind arising
thereunder (the “Leases"); and (iv) all contracts, permits and licenses respecting the use, operation or
maintenance of the Property. :

1.6 Obligations. The term “Obligation(s)," as used in this Mortgage, shall mean without limitation all
loans; advances, indebtedness, notes, Itabilities and amounts, liquidated or unliquidated, now or hereafter
owing by the Mortgagor to the Bank at any time, of each and every kind, nature and description, whether
arising under this Mortgage or otherwise, and whether secured or unsecured, direct or indirect (that is,
whether the same are. due directly by the Mortgagor to the Bank; or are due indirectly by the Mortgagor to
the Bank as endorser, guarantor or other surety, or as obligor of obligations due third persons which have
been endorsed or assigned to the Bank, or otherwise}, absolute or contingent, due or to become due,
now existing or hereafter contracted, including, without limitation, payment of all amounts outstanding
when dué pursuant to the terms of any of the Loan Documents. Said term shail also include all interest
and other charges chargeable to the Mortgagor or due from the Mortgagor to the Bank from time to time
and all advances, costs and expenses referred to in this Mortgage, including without limitation the costs
and expenses (including reasonable attorney's fees) of enforcement of the Bank's rights hereunder or
pursuant to any document or instrument executed in connection herewith.

17 . it is the express intention of the Mortgagor that this
Mortgage secure payment and performance of aii of the Obligations, whether now existing or hereinafter
incurred by reason of future advances by the Bank or otherwise, and regardless of whether such
Obligations are or were contemplated by the parties at the time of the granting of this Mortgage. Notice of
the continuing grant of this Mortgage shall not be required to be stated on the face of any document
evidencing any of the Obligations, nor shall such documents be required to otherwise specify that they
are secured hereby.

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2. REPRESENTATIONS, WARRANTIES, COVENANTS

ies. The Mortgagor represents and. warrants that:

(a) This Mortgage has been duly executed and delivered ‘by the Mortgagor and is the legal, valid
and binding obligation of the Morigagor enforceable in accordance with its terms, except as
limited by bankruptcy, insolvency, reorganization, moratorium or other laws affecting the
enforcement of creditors’ rights generally;

(b) The Mortgagor is the sole legal owner of the Property, holding good and marketable fee
simple title to the Property, subject to no liens, encumbrances, leases, security interests or
tights of others, other than as set forth in detail in Exhibit B hereto (the “Permitted
Encumbrances”);

(c) The Mortgagor is the sole legal owner of the entire tessor's interest in Leases, if any, with full
power and authority to encumber the Property in the manner set forth herein, and the
Mortgagor has not executed any other assignment of Leases or any of the rights or rents

’ arising thereunder;

(d) As of the date hereof, there are no Hazardous Substances (as hereinafter defined) in, on or
under the Property, except as disclosed In writing to and acknowledged by the Bank; and

(e) Each Obligation is a commercial obligation and doesinot represent a joan used for personal,
famity or household purposes and Is not a consumer transaction.
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2.2 Recording: Further Assurances. The Mortgagor covenants that it shall, at its sole cost and
expense and upon the request of the Bank, cause this Mortgage, and each amendment, modification or
supplement hereto, to be recorded and filed in such manner and in such places, and shall at all times
‘comply with all such statutes and regulations as may be required by law in order to establish, preserve
and protect the interest of the Bank in the Property and the rights of the Bank under this Mortgage.
Mortgagor will from time to time execute and deliver to the Bank such documents, and take or cause to
be taken, ‘all such other or further action, as the Bank may request in order to effect and confirm or vest
more securely in the Bank all rights contemplated by this Mortgage (including, without limitation, to correct
clerical errors) or to vest more fully in, or assure to the Bank the security interest in, the Property or to
comply with applicable statute or law. To.the extent permitted by applicable law, Mortgagor authorizes
the Bank to file financing statements, continuation statements of amendments, and any sich financing
statements,. continuation statements or amendments may be filed at any time In any jurisdiction. The
Bank may at any time and from time to time file financing statements, continuation statements and
amendments thereto that describe the Property as defined in thig Mortgage and which contain any other
information required by Article 9 of the Uniform Commercial for the sufficiency or filing office
acceptance of any financing statement, continuation stater or amendment, including whether
Mortgagor is an organization, the type of organization and any ofganization identification number issued
to Mortgagor; Mortgagor also authorizes the Bank to file financing statements describing any agricultural
liens or other statutory liens held by the Bank. Mortgagor agrees to furnish any such information to the
Bank promptly. upon request. In addition, Mortgagor shall at any time and from time to time, take such
steps as the Bank may reasonably request for the Bank (i) to obtain an acknowledgment, in’ form and
substance satisfactory to the Bank, of any bailee having possession of any of the Property that the ballee
holds such Property for the Bank, and (li) otherwise to insure the continued perfection and priority of the
Bank's security interest in any of the Property and the preservation of its rights therein. Mortgagor hereby

constitutes the Bank its attorney-in-fact to execute and file ail filings required or so requested for the

foregoing purposes, all acts of such attorney being hereby ratified and confirmed; and such power, being
coupled with an interest, shall be irrevocable until this Mortgage terminates in accordance with its terms,
all Obligations are paid in full and the Property is released. :

2.3 Restrictions on the Mortaagor. The Mortgagor covenants that it will not, nor will it permit any
other person to, directly or indirectly, without the prior written approval of the Bank in each instance: ,

(a) Sell, convey, assign, transfer, mortgage, pledge, hypothecate, lease or dispose of all or any
part of any legal or beneficial interest in the Mortgagor or the Property or any part thereof or

permit any of the foregoing, except as expressly permitted by the terms of this Mortgage;

(b) Permit the use, generation, treatment, storage, reldase or disposition of any oil or other
material or substance constituting hazardous waste ‘or hazardous materials or substances
under any applicable Federal or state law, regulation ct tule ("Hazardous Substances"); or

(c) Permit to be created or suffer to exist any mortgage, lién, security interest, attachment or other
encumbrance or charge on the Property or any part thereof or interest therein (except for the
Permitted Encumbrances), including, without limitation, (i) any llen arising under any Federal,
state or local statute, rule, regulation or law pertaining to the release or cleanup of Hazardous
Substances and (ii) any mechanics’ er materialmen’s lien. The Mortgagor further agrees to
give the Bank prompt written notice of the imposition, or notice, of any lien referred to in this
Section and to take any action necessary to secure the prompt discharge or release of the
same. The Mortgagor agrees to defend its title to the Property and the Bank's interest therein
against the claims of ail persons and, unless the Bank requests otherwise, to appear in and

- diligently contest, at the Mortgagor's sole cost and expense, any action or proceeding that
purports to affect the Mortgagor’s title to the Property or the priority or validity of this Mortgage
or the Bank's interest hereunder. so

24 Qperation of Property. The Mortgagor covenants and agrees as follows:

(a) The Mortgagor will not permit the Property to be used for any unlawful or improper purpose,
will at all times comply with all Federal, state and loca! laws, ordinances and regulations, and
the provisions of any Lease, easement or other agreement affecting all or any part of the
Property, and will obtain and maintain all governmental or other approvals relating to the
Mortgagor, the Property or the use thereof, including without limitation, any applicable zoning
or building codes or regulations and any laws or ragulations relating to the handling, storage,
release or cleanup of Hazardous Substances, and will give prompt written notice to the Bank
of (i) any violation of any such law, ordinance or regufation by the Mortgagor or relating to the
Property, (ii) receipt of notice from any Federal, state or local authority alleging any such
violation and (iii) the presence or release on the Property of any Hazardous Substances;

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(b) The Mortgagor will at all times keep the Property insured for such losses or damage, in such
amounts and by such companies as may be required by law and which the Bank may require,
provided that, in any case, the Mortgagor shail maintain: (i) physical hazard insurance on an
“all risks” basis in an amount not less than 100% of the full replacement cost of the Property;
(ii) flood insurance if and as required by applicable Federal law and as otherwise required by
the Bank; (iii) comprehensive commercial general liability insurance; {iv) rent loss and

- business interruption insurance; and (v) such other insurance as. the Bank may require from
time to time, including buiker's risk insurance in the case of construction loans. Al! policies

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regarding such insurance shall be issued by companies licensed to do business in the state
where the policy is issued and also in the state whefe the Property is located, be otherwise
acceptable to the Bank, provide deductible amounts Acceptable fo the Bank, name the Bank
as mortgagee, loss payee and additional insured, and? provide that no cancellation or material -
modification of such policies shall occur without at least Thirty (30) days prior written notice to
the Bank. Such policies shall include (i) a mortgage endorsement determined by the Bank in
good faith to be equivalent to the “standard” mortgage endorsement so that the insurance, as
to the interest of the Bank, shall not be invalidated by any act or neglect of the Mortgagor or
the owner of the Property, any foreclosure or other proceedings or notice of sale relating to the
Property, any change in the title to or ownership of the Property, or the occupation or use of
the Property for purposes more hazardous than are permitted at the date of inception of such
insurance policies; (ii) a replacement cost endorsement; (iii) an agreed amount endorsement;
(iv) a contingent liability from operation endersement; and (v) such other endorsements as the
Bank may request. The Mortgagor will furnish to the Bank upon request such original policies,
certificates of insurance or other evidence of the foregoing as are acceptable to the Bank.
The terms of all insurance policies shall be such that no coinsurance provisions apply, or if a
policy does contain a coinsurance provision, the Mortgagor shail insure the Property in an
. amount sufficient to prevent the application of the coinsurance provisions;

(c) Mortgagor will not enter into or modify the Leases in any material respect without the prior
written consent of the Bank, execute any assignment of the Leases except in favor of the
Bank, or accept any rentals under any Lease for more than one month in advance and will at
all times perform and fulfill every term and condition ofthe Leases;

(d) Mortgagor will at all times (i) maintain complete and accurate records and books regarding the
Property in accordance with generally accepted accodinting principles and (ii) permit the Bank
and the Bank's agents, employees and representatives, at such reasonable times as the Bank
may request, to enter and inspect the Property and suth books and records;

(e) Mortgagor will at ail times keep the Property in good arid first-rate repair and condition (damage
from casualty not excepted) and will not commit or permit any strip, waste, impairment,
deterioration or alteration of the Property or any part thereof, and

(f) Mortgagor shall not use or occupy the Property in any manner that would constitute a violation
of any state and/or federal laws involving controlled substances, even in a jurisdiction that
allows such use by state or local law or ordinance. In the event that Mortgagor becomes
aware of such a violation, Mortgagor shall take all actions allowed by jaw to terminate the
violating activity. Violation of this paragraph is a material breach of this agreement and
constitutes an Event of Defauit.

2.5 Payments. The Mortgagor covengnts to pay when due: all Federal, state, municipal, real property
and other taxes, betterment and improvement assessments and other governmental levies, water rates,
sewer charges, insurance premiums and other charges on the Property, this Mortgage or any Obligation
secured hereby that could, if unpaid, result in a lien on the Property or on any interest therein. [f and
when requested by the Bank, the Mortgagor shall. deposit from time to time with the Bank sums
determined by the Bank to be sufficient fo pay when due the arhounts referred to in this Section. The
Mortgagor Shall have the right to contest any notice, lien, encumbrance, claim, tax, charge, betterment
assessment or premium filed or asserted against or relating to the Property; provided that it contests the
same diligently and in good faith and by proper proceedings afd, at the Bank's request, provides the
Bank with adequate cash security, in the Bank's reasonable judgment, against the enforcement thereof.
The Mortgagor shail furnish to the Bank the receipted real estate tax bills or other evidence of payment of
real estate taxes for the Property within thirty (30) days prior to the date from which interest or penalty
would accrue for nonpayment thereof. The Mortgagor shall also furnish to the Bank evidence of all other
payments referred to above within fifteen (15) days after written request therefor by the Bank. If
Mortgagor shall faii to pay such sums, the Bank may, but shail not be obligated to, advance such sums.
Any sums $0 advanced by the Bank shail be added to the Obligations, shall bear interest at the highest
rate specified in any note evidencing the Obligations, and shall be. secured by the lien of this Mortgage.

26 Notices: Notice of Default. The Mortgagor will deliver to the Bank, promptly upon receipt of the
same, copies of all notices or other documents it receives that affect the Property or its use, or claim that
the Mortgagor is in default in the performance or observance of any of the terms hereof or that the
Mortgagor or any tenant is in default of any terms of the Leases. The Mortgagor further agrees to deliver
to the Bank written notice promptly upon the occurrence of any Event of Default hereunder or event that
with the giving of notice or lapse of time, or both, would constitute an Event of Default hereunder.

2.7 Takings. in case of any condemnation or expropriation for public use of, or any damage by
reason of the action of any public or governmental entity or authority to, all or any part of the Property (a
"Taking"), or the commencement of any proceedings or negotiations that might result in a Taking, the
Mortgagor shall immediately give written notice to the Bank, describing the nature and extent thereof.
The Bank may, at its option, appear in any proceeding for a Taking or any negotiations relating to a
Taking and the Mortgagor shall immediately give to the Bank copies of all notices, pleadings,
determinations and other papers relating thereto. The Mortg shall in good faith and with due
diligence and by proper proceedings file and prosecute its claims for any award or payment on account of
any Taking. The Mortgagor shall not settle any such claim withoyt the Bank's prior written consent. The
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Mortgagor shail hold any amounts received with respect to such awards or claims, by settlement, judicial
decree or otherwise, in trust for the Bank and immediately pay the same to the Bank. The Morigagor
authorizes any award or settlement due in connection with a Taking to be paid directly to the Bank in
amounts not exceeding the Obligations. The Bank may apply such amounts to the Obligations in such
order as the Bank may determine.

2.8 Insurance Proceeds. The proceeds of any insurance resulting from any loss with respect to the
Property shall be paid to the Bank and, at the option of the Bank, be applied to the Obligations In such.
order as the Bank may determine; provided, however, that if the Bank shail require repair of the Property,
the Bank may release all or any portion of such proceeds ‘to the Mortgagor for such purpose. Any
insurance proceeds paid to the Mortgagor shall be held in trust for the Bank and promptly paid to it.

3. _‘ CERTAIN RIGHTS OF THE BANK

3.1 Legal Proceedings. The Bank shall have the right, but® “not the duty, to intervene or otherwise
participate in any legal or equitable. proceeding that, in the Bank's teasonable judgment, might affect the
Property or any of the rights created or secured by this Mortgage. The Bank shall have such right
whether or not there shall have occurred an Event of Default hereunder. . /

3.2 Appraisais/Assessments. The Bank shall have the right, at the Mortgagor's sole cost and
expense, to obtain appraisals, environmental site essessments or other inspections of the portions of the
Property that are real estate at such times as the Bank deems necessary or as may be required by
applicable law, or its prevailing credit or underwriting policies.

3.3 Financial Statements. The Bank shall have the right, at the Mortgagor's sole cost and expense,
to require delivery of financial statements in form and substance acceptable to the Bank from the
‘Mortgagor or any guarantor of any of the Obligations and the Mortgagor hereby agrees to deliver such
financial statements and/or cause any such guarantor to so deliver any such financial statement when
required by the Bank.

3.4 Tax Return. Mortgagor shall provide the Bank with copies of Mortgagor's filed Federal and state
tax retums for the prior year within 120 days after the date that Morigagor's tax returris are required to be
filed.

3.5 Leases and Rent Roll. The Mortgagor shall deliver to the Bank (i) during each calendar year and
- at such other times as the Bank shall request a rent roll for the Property, in form acceptable to the Bank,
listing all tenants and occupants and describing all of the Leases; and (ii) at such times as the Bank shall
request executed copies of all the Leases. 3

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4. DEFAULTS AND REMEDIES:

41 Events of Default. "Event of Default” shall mean the occurrence of any one or more of the
following events: .

(a) default of any liability, obligation, covenant or undertaking of the Mortgagor or any guarantor of
/ the Obligations to the Bank, hereunder or otherwise, including, without limitation, failure to pay
in full and when due any installment of principal or interest or default of the Mortgagor or any
guarantor of the Obligations under any other Loan Document or any other agreement with the

Bank;

{b) failure by the Mortgagor or any guarantor of the Cbiigations to perform, observe or comply
with any of the covenants, agreements, terms or conditions set forth in this Mortgage of the
~ Loan Documents;

(c) the (i) occurrence of any material loss, theft, damage or destruction of, or {il) Issuance or
making of any levy, seizure, attachment, execution or:similar process on a material portion of

. the Property,
(d) failure of the Mortgagor or any guarantor of the Obligations to maintain aggregate collateral
security value satisfactory to the Bank; i

(e) default of any material tiability, obligation or undertaking of the Mortgagor or any guarantor of
the Obligations to any other party; :

ff) if any statement, representation or warranty heretofore, now or hereafter made by the

: Mortgagor or any guarantor of the Obligations in connection with this Mortgage or in any
supporting financial statement of the Mortgagor or any guarantor of the Obligations shall be
determined by the Bank to have been false or misleading in any material respect when made;

(9) if the Mortgagor or any guarantor of the Obligations Is a corporation, trust, partnership or
limited liability company, the liquidation, termination or dissolution of any such organization, or
the merger or consolidation of such organization into another entity, or the division of such
organization into one or more entities, or its ceasing to carry on actively its present business
or the appointment ofa receiver for its property;

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the death of the Mortgagor or any guarantor of the Obligations and, if the Mortgagor or any
guarantor of the Obligations is a partnership or limited liability company, the death of any
partner or member; ;

the institution by or against the Mortgagor or any guarantor of the Obligations of any
proceedings under the Bankruptcy Code 11 USC §101 ef seg. or any other law in which the
Mortgagor or any guarantor of the Obligations is alleged to be insolvent or unable to pay its
debts as they mature, or the making by the Mortgagor or any guarantor of the Obligations of
an assignment for the benefit of creditors or the granting by the Mortgagor or any guarantor of
the Obligations of a trust mortgage for the benefit of creditors;

" the service upon the Bank of a writ in which the Bank is named as trustee of the Mortgagor or

any guarantor of the Obligations;

@ judgment or judgments for the payment of money shall be rendered against the Mortgagor
or any guarantor of the Obligations, and any such judgment shall remain unsatisfied and in
effect for any period of thirty (30) consecutive days without'a stay of execution;

any levy, lien {including mechanics lien), seizure, ‘attachment, execution or similar process
shall be issued or levied on any of the property of the Mortgagor or any guarantor of the
Obligations;

the termination or revocation of any guaranty of the Obigetions or

the occurrence of such a change in the condition or affairs (financial or otherwise) of the
Mortgagor or any guarantor of the Obligations, or 4he occurrence of any other event or
circumstance, such that the Bank, in its sole discretién, deems that |t Is insecure or that the
prospects for timely or full payment or performance of any obligation of the Mortgagor or any
guarantor of the Obligations to the Bank has been or may be impaired.

Remedies. On the occurrence of any Event of Default the Bank may, at any time thereafter, at its

option and, to the extent permitted by applicable law, without notice, exercise any or.all of the following

remedies:

(a)

(b)

(c)

~ d)

Declare the Obligations due and payable, and the Obligations shall thereupon become
immediately due and payable, without presentment, protest, demand or notice of any kind, all
of which are hereby expressly waived by the Mortgagor except for Obligations due and
payable on demand, which shall be due and payable: on demand whether or not an event of
default has occurred hereunder; —.

Enter, take possession of, manage and operate the Property (including all personal property
and all records and documents pertaining thereto) and any part thereof and exclude the
Mortgagor therefrom, take all actions It deems necessary or proper to preserve the Property
and operate the Property as a mortgagee in possession with all the powers as could be

_exercised by a receiver or as otherwise provided herein or by applicable law; provided,

however, the entry by the Bank upon the Property for‘any reason shall not cause the Bank to
be a mortgagee in possession, except upon the express written declaration of the Bank;

With or without taking possession, receive and collect all rents, income, issues and profits
("Rents") from the Property (including ‘all real estate dnd personal Property and whether past
due or thereafter accruing), including as may arise*under the Leases, and the Mortgagor
appoints the Bank as its true and lawful attomey with the power for the Bank in Its own name
and capacity to demand and collect Rents and take any action that the Mortgagor is
authorized to take under the Leases. The Bank shall (after payment of all costs and expenses
incurred) apply any Rents received by it to the Obligations In such order as the Bank
determines, or in. accordance with any applicable statute, and the Mortgagor agrees that
exercise of such rights and disposition of such funds shall not be deemed to cure any default
or constitute a waiver of any foreclosure once commenced nor preclude the iater
commencement of foreclosure for breach thereof. The Bank shail be liable to account only for
such Rents actually received by the Bank. Lessees under the Leases are hereby authorized
and directed, following notice from the Bank, to pay all amounts due the Mortgagor under the
Leases to the Bank, whereupon such lessees shall be relieved of any and all duty and
obligation to the Mortgagor with respect to such payments so made;

Sell the Property or any part thereof or interest therein pursuant to exercise of its
STATUTORY POWER OF SALE or otherwise at public auction on terms and conditions as the
Bank may determine, or otherwise foreclose this Mortgage in any manner permitted by law,
and upon such sale the Mortgagor shall execute and deliver such instruments as the Bank

“ may request in order to convey and transfer ail of the Mortgagors interest in the Property, and

the same shall operate to divest ail rights, title and interest of the Mortgagor in and to the
Property. in the event this Mortgage shali include: more than one parce! of property or
subdivision (each hereinafter called a “portion"), the Bank shall, in its sole and exclusive
discretion, be empowered to foreclose upon any such portion without impairing its right to
forectose subsequently upon any other portion or the entirety of the Property from time to time

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thereafter. in addition, the Bank may in its discretion subordinate this Mortgage to one or
more Leases for the sole purpose of preserving any such Lease in the event of a foreclosure;

(e) Cause one or more environmental assessments to be taken, arrange for the cleanup of any
Hazardous Substances or otherwise. cure the Mortgagor's failure to comply with any statute,
reguiation or ordinance relating to the presence or cleanup of Hazardous Substances, and the
Mortgagor shall provide the Bank or its agents with access to the Property for such purposes;
provided that the exercise of any of such remedies shall not be deemed to have relieved the
Mortgagor from any responsibility therefor or given the Bank “control” over the Property or
cause the Bank to be considered to be a mortgagee in possession, “owner” or “operator of
the Property for purposes of any applicable law, rule or regulation pertaining to Hazardous
Substances; and

(f Take such other actions or proceedings as the Bank deems necessary or advisable to protect
its interest in the Property and ensure payment and pérformance of the Obligations, including,
without limitation, appointment of a receiver (and thé Mortgagor hereby waives any right to
object to such appointment) and exercise of any of the Bank's remedies provided herein or in
any other document evidencing, securing or relating to any of the Obligations or available to a
secured party under the Uniform Commercial Code or under other applicable law.

This Mortgage is upon the STATUTORY CONDITION, for any breach of whicti the Bank shall
have the STATUTORY POWER OF SALE.

in addition, the Bank shall have all other remedies provided by applicable law, including, without
limitation, the right to pursue a judicial sale of the Property or any portion thereof by deed, assignment or |
otherwise.

The Mortgagor agrees and acknowledges that the acceptance by the Bank of any payments from
either the Mortgagor or any guarantor after the occurrence of any Event of Default, the exercise by the
Bank of any remedy set forth herein or the commencement, discontinuance or abandonment of
foreclosure proceedings against the Property shall not waive the ‘Bank subsequent or concurrent right to
foreclose or operate as a bar or estoppel to the exercise of any other rights or remedies of the Bank. The
Mortgagor agrees and acknowledges that the Bank, by making: payments or incurring costs. described
herein, shall be subrogated to any right of the Mortgagor to seek reimbursement from any third parties,
including, without limitation, any predecessor in interest to the Moftgagor’s title or other party who may be
responsible under any law, regulation or ordinance relating to tne presence or cleanup of Hazardous
Substances.

43 Advances. If the Mortgagor fails to pay or perform any é its obligations respecting the Property,
the Bank may in its sole discretion do so without waiving or reléasing Morigagor from any such obiigation.
Any such payments may include, but are not limited to, payments for taxes, assessments and other
govemmental levies, water rates, insurance premiums, maintenance, repairs or improvements
‘constituting part of the Property. Any amounts paid by the Bank ‘hereunder shail be, until reimbursed by
the Mortgagor, part of the Obligations and secured by this Mortgage, and shall be due and payable to the
Bank, on demand, together with interest thereon to the extent permitted by applicable law, at the highest
rate permitted under any of the notes evidencing the Obligations.

44 Cumulative Rights and Remedies. All of the foregoing rights, remedies and options {including
without limitation the right to enter and take possession of the Property, the right to manage and operate
the same, and the right to collect Rents, in each case whether by a receiver or otherwise) are cumulative
and in addition to any rights the Bank might otherwise have, whether at law or by agreement, and may be
exercised separately or concurrently and none of which shall be exclusive of any other. The Mortgagor
further agrees that the Bank may exercise any or all of its rights or remedies set forth herein without
having to pay the Mortgagor any sums for use or occupancy of the Property.

4.5  Mortgagors Waiver of Certain Rights. To the extent permitted by applicable law, the Mortgagor
hereby waives the benefit of all present and future laws (i) providing for any appraisal before sate of all or
any portion of the Property or (ii) in any way extending the time for the enforcement of the collection of the
Obligations or creating or extending a period of redemption from any sale made hereunder.

5, MISCELLANEOUS

6.1 Costs and Expenses. To the extent permitted by applicable law, the Mortgagor shall pay to the
Bank, on demand, all reasonable expenses (including attomeys' fees and expenses and reasonable
consulting, accounting, appraisal, brokerage and similar professional fees and charges) incurred by the
Bank in connection with the Bank's interpretation, recordation of this Mortgage, exercise, preservation or |
enforcement of any of its rights, remedies and options set forth in this Mortgage and in connection with
any litigation, proceeding or dispute whether arising hereunder or otherwise relating to the Obligations,
together with interest thereon to the extent permitted by applicable law, until paid in full by the Mortgagor
at the highest rate set forth in any of the notes evidencing the Obligations. Any amounts owed by the
Mortgagor hereunder shall be, until paid, part of the Obligations ‘and secured by this Mortgage, and the
Bank shall be entitled, to the extent permitted by law, to receive and retain such amounts In any action for
a deficiency against or redemption by the Mortgagor, or any accounting for the proceeds of a foreclosure
sale or of insurance proceeds.

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5.2 indemnification Regarding Leases. The Mortgagor hereby agrees to defend, and does hereby
indemnify and hold the Bank and each of its directors, officers, eniployees, agents and attorneys (each an
_ "Indemnitee") harmless from all losses, damages, claims, costs!or expenses {including attorneys’ fees
and expenses} resulting from the assignment of the Leases and from ail demands that may be asserted
against such indemnitees arising from any undertakings on. the part of the Bank to perform any
obligations under the Leases. . it is understood that the assignment of the Leases shall not operate to
place responsibility for the contro! or management of the Property upon the Bank or any Indemnitee or
make them liable for performance of any of the obligations of the Mortgagor under Leases, respecting any
condition of the Property or any other agreement or arrangement, written or oral, or applicable law.

i ances. The Mortgager hereby agrees to defend, and
does hereby cea and hold “harmless each Indemnitee from and against any and all losses,
damages, claims, costs or expenses, including, without limitation, litigation costs and attorneys’ fees and
expenses and fees or expenses of any environmental engineering or cleanup firm incurred by such
Indemnitee and arising out of or in connection with the Property or resulting from the application of any
current or future law, regulation or ordinance relating to the presence or cleanup of Hazardous
‘Substances on or affecting the Property. .The Mortgagor agrees its obligations hereunder shall be
continuous and shall survive termination or discharge of this Mortgage and/or the repayment of all debts
to the Bank including repayment of all Obligations.

5.4 Indemnitee's Expenses. If any indemnitee is made a party defendant to any litigation or any
claim is threatened or brought against such indemnitee concerning this Mortgage or the Property or any
part thereof or therein or concerning the construction, maintenance, operation or the occupancy or use
thereof by the Mortgagor or other person or entity, then the Morigagor shall indemnify, defend and hold
each Indemnitee harmless from and against all liability by reason of said litigation or claims, including
attomeys' fees and expenses incurred by such Indemnitee in conhection with any such litigation or claim,
whether or not any such litigation or claim is prosecuted to jucyment. The within indemnification shall
survive payment of the Obligations, and/or any termination, releage or discharge executed by the Bank i in
favor of the Mortgagor.

§.5 Waivers. The Mortgagor waives notice of nonpayment, demand, presentment, protest or notice
of protest of the Obligations and all other notices, consents to any renewals or extensions of time of
payment thereof, and generally waives any and all suretyship defenses and defenses In the nature
thereof. No delay or omission of the Bank in exercising or enforcing any of Its rights, powers, privileges,
emedies, immunities or discretion (all of which are hereinafter collectively referred to as. “the Bank's
‘fights and remedies”) hereunder shall constitute a walver thereof, and no waiver by the Bank of any
default of the Mortgagor hereunder or of any demand shall operate as a waiver of any other default
hereunder or of any other demand. No term or provision hereof shall be waived, altered or modified
’ except with the prior written consent of the Bank, which consent makes explicit reference to this
Mortgage. Except as provided in the preceding sentence, no other agreement or transaction, of
whatsoever nature, entered into between the Bank and the Mortgagor at any time (whether before, during
or after the effective date or term of this Mortgage) shall be construed as a waiver, modification or
limitation of any of the Bank's rights and remedies under this Mortgage (nor shall anything in this ©
Mortgage be construed as a waiver, modification or limitation of any of the Bank's rights and remedies
under any such other agreement or transaction) but all the Bank's rights and remedies not only under the
provisions of this Mortgage but also under any such other agreement or transaction shall be cumulative
and not alternative or exclusive, and may be exercised by the Bank at such time or times and in such
order of preference as the Bank in its sole discretion may determite.

5.6 Waiver of Homestead. To the maximum extent permit under applicable law, the Mortgagor ©
hereby waives and terminates any homestead rights and/or exemptions respecting the Property under the
provisions of any applicable homestead laws.

5.7 Joint and Several. If there is more than one Mortgagor, each of them shall be jointly and
severally liable for payment and/or performance of all obligations secured by this Mortgage and the term
“Mortgagor’ shall include each as well as all of them.

§.8 Severability. If any provision of this Mortgage or portion of such provision or the application
thereof to any person or circumstance shall to any extent be held invalid or unenforceable, the remainder
of this Mortgage (or the remainder of such provision) and the application thereof to other persons or
Circumstances shall not be affected thereby.

§.9 Complete Agreement. This Mortgage and the other Loan Documents constitute the entire
agreement and understanding between and among the parties hereto relating to the subject matter
hereof, and supersedes all prior proposals, negotiations, agreements and understandings among the
parties hereto with respect to such subject matter.

5.10 Binding Effect of Agreement. This Mortgage shall run with the land and be binding upon and
inure to the benefit of the respective heirs, executors, ‘administrators, legal representatives, successors
and assigns of the parties hereto, and shall remain in full force and effect (and the Bank shall be entitled
to rely thereon) until all Obligations are fully and indefeasibly paid’ The Bank may transfer and assign this
Mortgage and deliver any collateral to the assignee, who shall thereupon. have all of the rights of the
Bank; and the Bank shall then be relieved and discharged of an responsibility or lability with respect to
this Mortgage and such collateral. Except as expressly provided herein or in the other Loan Documents,

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nothing, expressed or implied, is intended to confer upon any party, other than the parties hereto, any
tights, remedies, obligations or liabilities under. or by Feason | of this Mortgage or the other Loan
Documents.

6.11 Notices. Any notices under or pursuant to this Mortgage shail be deemed duly received and _
effective if delivered in hand to any officer or agent of the Mortgagor or Bank, or if mailed by registered or
certified mail, return receipt requested, addressed to the Mortgagor or Bank at the address set forth in this
Mortgage or as any party may from time to time designate by written notice to the other party.

5.12 Governing Law. This Mortgage shall be governed by the laws of the Commonwealth of
Massachusetts. ,
5.13 Reproductions. This Mortgage and ail documents witch have been or may be hereinafter
furnished by the Mortgagor to the Bank may be reproduced by the Bank by any photographic, photostatic,
microfilm, xerographic of similar process, and any such reproduétion shall be admissible in evidence as
the original itself in any judicial or administrative proceeding (wHether or not the original is in existence
and whether or not such reproduction was made In the regular course of business).

5.14 Jurisdiction and Venue. The Mortgagor irrevocably submits to the nonexclusive jurisdiction of any
Federal or state court sitting in Massachusetts, over any suit, action or proceeding arising out of or
relating to this Mortgage. The Mortgagor irrevocably waives, to the fullest extent it may effectively do so
under applicable law, any objection it may now or hereafter have to the laying of the venue of any such
suit, action or proceeding brought in any such court and any claim that the same has been brought in an
inconvenient forum. The Mortgagor hereby consents to process being served in any such suit, action or
proceeding (i) by the mailing of a copy thereof by registered or certified mail, postage prepaid, return
receipt requested, to the Mortgagor’s address set forth herein or such other address as has been
provided in writing to the Bank and (ii) in any other manner permitted by law, and agrees thet such
service shall in every respect be deemed effective service upon the Mortgagor.

5.15 JURY WAIVER. THE MORTGAGOR AND THE BANK EACH HEREBY KNOWINGLY,
VOLUNTARILY AND INTENTIONALLY, AND AFTER AN OPPORTUNITY TO CONSULT WITH LEGAL
COUNSEL, (A) WAIVE ANY AND ALL RIGHTS TO A TRIAL BY JURY IN ANY ACTION OR
PROCEEDING IN CONNECTION WITH THIS MORTGAGE, THE OBLIGATIONS, ALL MATTERS
CONTEMPLATED HEREBY AND DOCUMENTS EXECUTED IN CONNECTION HEREWITH AND (B)
AGREE NOT TO CONSOLIDATE ANY SUCH ACTION WITH ANY OTHER ACTION IN WHICH A JURY
TRIAL CAN NOT BE, OR HAS NOT BEEN WAIVED. THE MORTGAGOR CERTIFIES THAT NEITHER
THE BANK NOR ANY OF ITS REPRESENTATIVES, AGENTS. OR COUNSEL HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT THE BANK WOULD NOT IN THE EVENT OF ANY SUCH
PROCEEDING SEEK TO ENFORCE THIS WAIVER OF RIGHT [0 TRIAL BY JURY.

EXECUTED under seal as of the date first above written.

Witness: . Mortgagor:

Dar ee WN . Luciana a, as Trustee of

7 Middlesex Road Realty Trust

BEM mete ee

COMMONWEALTH OF MASSACHUSETTS : os
county of _Wv %€/ : 20

, $8.
On this K day of Ayst , 20 fd before me, the undersigned notary public, personally
of

appeared Luciana Oliveira, as Tru 347 Middlesex Road Realty Trust, & Massachusetts Trust, proved
to me through satisfactory evidence of identification, which were. (7 4f OY +d (¢04€_ to be the
person whose name is signed on the preceding or attached document, ang acknowledged to me that he/she
signed it voluntarily for its stated purpose, in such capacity.

, NOTARY PUBLIC

DANIEL A. ROTARO
Notary Pubtic
Messackysetts
My Corrissign. Expires
Des. 224

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Exhibit A

The tand with the buildings thereon situated in Tyngsborough Middlesex County, Commonwealth of
Massachusetts, known as 347 Middlesex Road, Tyngsborough, MA and shown as Lot 9A ona plan’
entitled "Plan of Land Middlesex Road In Tyngsborough, MA. Prepared for Applewood Construction
Corp.” by Marchionda & Associates, L.P., dated September 5, 1996 and recorded In Middlesex North
District Registry of Deeds, Plan Book 192, Plan 39, to which said pian and the record thereof reference is
hereby made for a more complete description of said premises.

Said Lot 9A containing 483,201 square feet (11.09 acres} more or less according to said Plan.

Said premises are conveyed subject to and with the benefit of easements of record insofar as the same
are now in force and applicable.

Being the same premises conveyed to the mortgagor by deed of Luciana Oliveira, Trustee of the SR

Family Trust by deed dated February 3, 2017 recorded with Middlesex North Registry of Deeds in Book
30927 Page 147.

